Case 1:21-cv-02332-LTB Document 11 Filed 10/26/21 USDC Colorado Page 1 of 11




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


Civil Action No. 1:21-cv-02332-LTB
MICHAEL HUPFER,
       Plaintiff,
v.
CAROLINE KAUFMAN
and
MARY HOGAN,
       Defendants.


               DEFENDANT MARY HOGAN’S MOTION TO DISMISS
                      PLAINTIFF’S COMPLAINT



       Defendant Mary Hogan (“Hogan”), by and through her undersigned counsel of

record, hereby presents her motion pursuant to Fed. R. Civ. P. 12(b)(6) to dismiss the

complaint filed by Plaintiff Michael Hupfer (“Hupfer”).

1.     INTRODUCTION

       Hupfer claims that he was defamed by his cousin, Defendant Caroline Kaufman,

when she spoke to three of Hupfer’s relatives in March 2021 and told them that Hupfer

had engaged in “illicit acts with minors” and had “sex with a minor.” (Compl. ¶ 21.)

Hupfer also alleges that Kaufman caused two individuals to make the same allegations

to Hupfer’s father. (Id. ¶ 21).




                                             1
Case 1:21-cv-02332-LTB Document 11 Filed 10/26/21 USDC Colorado Page 2 of 11




       Hupfer further asserts that Hogan is a private investigator hired by Kaufman and,

as part of Hogan’s investigation, she contacted four of Hupfer’s former business

partners and acquaintances “attempting to verify” whether they had knowledge of any

“illicit acts with minors.” (Id. ¶¶ 24-25.) Hupfer alleges two additional contacts wherein

Hogan is reported to have said she “is investigating” conduct of Hupfer. (Id. ¶¶ 26-27.)

No other details of those purported conversations are alleged with any specificity.

Hupfer claims that Hogan defamed him during those conversations but there is nothing

defamatory about Hogan’s alleged statements that she was investigating the allegations

purportedly made by Kaufman.1 Whether Hogan’s alleged statements are defamatory

may be determined by the Court as a matter of law. As a consequence, the Court

should dismiss Hupfer’s defamation claim for failure to state a claim pursuant to Fed. R.

Civ. P. § 12(b)(6).

       In addition to his defamation claims, Hupfer asserts that he suffered “emotional

distress” as a consequence of Hogan’s (and Kaufman’s) allegedly “extreme and

outrageous” conduct. (Compl. ¶¶ 32-36, 52-55.) Hogan’s alleged statements to third-

parties that she was investigating alleged “illicit acts with minors” do not come close to

meeting the extremely high level of outrageousness required to create liability. As a

consequence, Hupfer’s outrageous conduct claim must be dismissed as a matter of law.




1
 Kaufman has filed an answer to Hupfer’s complaint and denies that she defamed Hupfer. Hogan also
denies that she had conversations with the various people she interviewed in the manner described in
the Complaint. Hogan is mindful, however, that Hupfer’s allegations must be taken as true for purposes
of this motion to dismiss.

                                                  2
     Case 1:21-cv-02332-LTB Document 11 Filed 10/26/21 USDC Colorado Page 3 of 11




2.      STANDARD OF REVIEW FOR MOTION TO DISMISS

           This Court has recently summarized the standard for review for a motion to

     dismiss in Mason v. Miro Jewelers, Inc., No. 19-cv-02459-LTB-KLM, 2020 WL 6828015,

     at *1-2 (D. Colo. Mar. 17, 2020) as follows:


           To survive a motion to dismiss under Rule 12(b)(6), a complaint “must
           contain sufficient factual matter, accepted as true, ‘to state a claim to relief
           that is plausible on its face.’ ” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)
           (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim
           has facial plausibility when the plaintiff pleads factual content that allows
           the court to draw the reasonable inference that the defendant is liable for
           the misconduct alleged.” Id. (citing Twombly, 550 U.S. at 556).
           “Plausibility” in this context “refer[s] to the scope of the allegations in a
           complaint: if they are so general that they encompass a wide swath of
           conduct, much of it innocent, then the plaintiffs have not nudged their
           claims across the line from conceivable to plausible.” Robbins v.
           Oklahoma, 519 F.3d 1242, 1247 (10th Cir. 2008) (internal quotations
           omitted).
           As a corollary, “[t]hreadbare recitals of the elements of a cause of action,
           supported by mere conclusory statements, do not suffice.” Iqbal, 556 U.S.
           at 678. Rather, the “[f]actual allegations must be enough to raise a right to
           relief above the speculative level.” Twombly, 550 U.S. at 555. A pleading
           that offers “labels and conclusions” or a formulaic recitation of the
           elements of a cause of action will not do; nor does the complaint suffice if
           it tenders “naked assertion[s]” that are devoid of “further factual
           enhancement.” Id., 550 U.S. at 555, 557.
           When deciding a motion to dismiss under Rule12(b)(6), the court must
           assume the truth of all well-pleaded facts in the complaint and draw all
           reasonable inferences therefrom in the light most favorable to the plaintiff.
           Teigen v. Renfrow, 511 F.3d 1072, 1078 (10th Cir. 2007). Legal
           conclusions, however, do not receive this treatment. Iqbal, 556 U.S. at
           678.




                                                    3
Case 1:21-cv-02332-LTB Document 11 Filed 10/26/21 USDC Colorado Page 4 of 11




3.     HUPFER’S ALLEGATIONS AGAINST HOGAN DO NOT STATE A
       CLAIM FOR DEFAMATION AND HUPFER’S NAKED ASSERTIONS
       WITHOUT FACTUAL ENHANCEMENTS ARE NOT PLAUSIBLE
       Defamation claims must be pled with specificity, including at least naming the

individuals to whom the defamatory statements were made and when they were made.

Kelley v. New York Life Ins. and Annuity Corp., No. 07–cv–01702–LTB–BNB, 2008 WL

1782647 at * 6 (D. Colo. Apr. 17, 2008)(Babcock, J.) (citing Walters v. Linhof, 559 F

.Supp. 1231, 1234 (D. Colo.1983)); see also Banks v. Jackson, No. No. 20–cv–02074–

KMT, 2021 WL 4149618, at *9 (D. Colo. Sept. 13, 2021) (dismissing defamation claims

that failed to allege when the allegedly defamatory statement were made and to whom);

Ross v. Gallegos, No. 13-cv-00831-REB-KLM, 2013 WL 6283910, at *5 (D. Colo. Dec.

3, 2013) (“Because Plaintiff's allegations are naked and devoid of necessary factual

enhancement (such as time, place, and even person)…, the Court concludes that

Plaintiff fails to meet the standard set forth in Rule 12(b)(6)”); McDonald v. Wise, No.

12–cv–2996–JLK, 2013 WL 1855869, at *2 (D. Colo. May 1, 2013) (an allegation such

as “[Defendant] reported to City officials and employees that [Plaintiff] sexually harassed

her” is plainly insufficient under Iqbal, as the nature of the alleged defamatory statement

and the essential facts of publication and scienter cannot be inferred); Carosella v. One

World Translation & Associates, Inc., No. 16-cv-0805-WJM-KMT, 2017 WL 11545380,

at *3 (D. Colo. Mar. 1, 2012) (allegations that fail to identify precisely to whom the

alleged defamatory statements were made, the time and place of the publication, and

the alleged defamatory words themselves, do not adequately plead a defamation claim).




                                             4
Case 1:21-cv-02332-LTB Document 11 Filed 10/26/21 USDC Colorado Page 5 of 11




       Hupfer’s allegations against Hogan fall far short of the required specificity.

Hupfer alleges the follow facts against Hogan:

       24.    On May 20, 2021, a private investigator hired by Ms. Kaufman,
       Mary P. Hogan, contacted Jerry Shelsta, Mr. Hupfer’s former business
       partner, attempting to verify whether Mr. Shelsta and another former
       business partner, William Deignan, had ever walked in on Mr. Hupfer
       engaging in illicit acts with a minor. Mr. Shelsta informed Ms. Hogan he
       had not and that he had no knowledge of Mr. Hupfer engaging in any illicit
       acts with minors.

       25.    On May 20, 2021, Ms. Hogan, also contacted William Deignan
       attempting to verify whether Mr. Deignan and Mr. Shelsta ever walked in
       on Mr. Hupfer engaging in illicit acts with a minor. Mr. Deignan informed
       Ms. Hogan they had not and that he had no knowledge of Mr. Hupfer
       engaging in any illicit acts with minors.

       26.   On May 26, 2021, Ms. Hogan, contacted Colin Eckhoff, the ex-
       husband of Mr. Hupfer’s close friend, and stated that she is investigating
       Mr. Hupfer for allegedly sleeping with minors.

       27.   On May 26, 2021, Ms. Hogan, contacted Trevor Barnes, Mr.
       Hupfer’s childhood friend’s grown son, and stated that she is investigating
       Mr. Hupfer for allegedly sleeping with minors.

(Italics added for emphasis).

       None of these allegations contain a single defamatory statement of fact or

opinion by Hogan. All these allegations purport to show is that Hogan was “attempting

to verify” and “investigating” certain issues involving Hupfer. Hupfer obviously

recognized that these allegations, standing alone, would not constitute a viable claim of

defamation against Hogan, so he makes the following generalized and conclusory

allegations in an attempt to fill the obvious deficiency:

       28.    In her communications, Ms. Hogan made the repeated false
       allegation that Mr. Hupfer had had sex with minors.

       29.    Each individual contacted by Ms. Hogan told other individuals of the
       malicious and false allegations that Ms. Kaufman made against Mr.
                                              5
Case 1:21-cv-02332-LTB Document 11 Filed 10/26/21 USDC Colorado Page 6 of 11




       Hupfer. As a result of Ms. Hogan spreading Ms. Kaufman’s malicious and
       false allegations, those allegations have been shared with a wide network
       of people.

       30.     Ms. Hogan made statements alleging Mr. Hupfer engaged in illicit
       activities with minors with reckless disregard for whether or not Ms.
       Kaufman’s accusations were false.

Paragraphs 28-30 are the only allegations in the Complaint that assert that Hogan made

defamatory statements against Hupfer, but nowhere in the Complaint does Hupfer

specifically identify the people to whom the alleged defamatory statements in

these paragraphs were made or when they were made. Hupfer obviously wants the

Court to speculate that the clause “In her communications” in paragraph 28 refers to the

preceding alleged conversations Hogan had with Messrs. Shelsta, Deigman, Eckoff and

Barnes, but there is no foundation whatsoever to support that speculation. Indeed,

paragraph 28 is so transparently invented to create an impression rather than allege a

fact, it must be disregarded as implausible on its face. Quite obviously, if Hupfer had

any basis for alleging that Hogan expressly stated that “Mr. Hupfer had had sex with

minors” to any of Messrs. Shelsta, Deigman, Eckoff and Barnes, he would have so

alleged those facts in the paragraphs describing Hogan’s purported conversations with

those four individuals.

       Perhaps the most implausible aspect of paragraph 28 is that it is wholly

inconsistent with the preceding paragraphs wherein Hogan is alleged to have told

Messrs. Shelsta, Deignan, Eckhoff and Barnes that she was “investigating”

“allegations.” There would be no need for Hogan to conduct an investigation of

“allegations” if Mr. Hupfer’s alleged “sex with minors” was an established fact or Hogan


                                            6
Case 1:21-cv-02332-LTB Document 11 Filed 10/26/21 USDC Colorado Page 7 of 11




stated it as a fact. Adding to the implausibility of paragraph 28, is the fact that Hupfer

had no difficulty alleging that Kaufman purportedly made the defamatory statements to

specific people at specific times2:

        21.    Throughout March 2021, Ms. Kaufman spread the malicious and
        false accusation that Mr. Hupfer is a pedophile to several other individuals.
        Ms. Kaufman contacted the following people to spread this malicious
        accusation:

        a.    On March 23, 2021, Ms. Kaufman contacted her sister, Mr.
        Hupfer’s cousin, and accused Mr. Hupfer of illicit acts with minors, stated
        she had video and audio of the same and that her entire family had seen
        and heard the video.

        b.      On March 28, 2021, Ms. Kaufman emailed Mr. Hupfer’s elderly
        father, Jim Hupfer, and stated Mr. Hupfer was caught sleeping with three
        minors and kicked out of her home. She further stated her adult daughter
        witnessed that alleged event.

                                                *        *        *

        d.     On March 28, 2021, Ms. Kaufman contacted her brother, who is Mr.
        Hupfer’s cousin, and claimed that Mr. Hupfer’s former business partner
        William Deignan walked in on Mr. Hupfer having sex with a minor. Ms.
        Kaufman also repeated the allegation that Mr. Hupfer was caught sleeping
        with three minors and kicked out of her home, and that Ms. Kaufman’s
        adult daughter witnessed that alleged event. Ms. Kaufman also made the
        false allegation that Mr. Hupfer’s sister and her husband told Ms. Kaufman
        “horror stories” about Mr. Hupfer and minors, and that those same stories
        were relayed by their adult daughter and son to Ms. Kaufman’s adult
        daughter.

        Hupfer’s failure to allege that Hogan stated a defamatory fact to a specific person

at a specific time (as he does with respect to Kaufman) not only falls short of the




2
 Again, Hogan does not intend to imply that any of the allegations against Kaufman are true, and as noted in fn1
above, Kaufman has filed an answer specifically denying Hupfer’s allegations. Instead, the purpose of highlighting
those allegations in this context is solely to illustrate the implausibility of the allegations against Hogan in
paragraph 28 which are untethered to or from any specific people or times.

                                                         7
Case 1:21-cv-02332-LTB Document 11 Filed 10/26/21 USDC Colorado Page 8 of 11




minimal specificity the law requires, but also makes the defamation claim against Hogan

completely implausible and worthy of dismissal as a matter of law.

4.     HUPFER’S “OUTRAGEOUS CONDUCT” CLAIM FAILS AS A MATTER OF
       LAW

       To state such a claim, “[o]utrageous conduct must be so outrageous in character,

and so extreme in degree, as to go beyond all possible bounds of decency, and to be

regarded as atrocious, and utterly intolerable in a civilized community.” Destefano v.

Grabrian, 763 P.2d 275, 286 (Colo.1988) (internal quotations and citations omitted).

“Although the question whether conduct is outrageous is generally one of fact to be

determined by a jury, it is the initial responsibility of a court to determine whether

reasonable persons could differ on the question.” McCarty v. Kaiser–Hill Co., L.L.C., 15

P.3d 1122, 1126 (Colo.App.2000).

       Hogan is only alleged to have contacted four individuals as a private investigator

to investigate serious allegations of possible illicit acts with minors. The exercise of

Hogan’s right to investigate claims by lawful means cannot constitute outrageous

conduct as a matter of law, even if she knew it was likely that Hupfer would experience

emotional distress. See Yaklich v. Grand County, No. 05-cv-01081-LTB-OES, 2005 WL

8165237 at *9 (D. Colo. Nov. 15, 2005) (Babcock, J.) (“It is axiomatic that an exercise of

one's rights by lawful means cannot constitute outrageous conduct, even if one knows

that emotional distress is likely to result” (quoting Bigby v. Big 3 Supply Co., 937 P.2d

794, 800 (Colo. App. 1996)). Hupfer does not allege that Hogan was investigating the




                                              8
Case 1:21-cv-02332-LTB Document 11 Filed 10/26/21 USDC Colorado Page 9 of 11




alleged conduct in an unlawful manner, and it is self-evident that Hogan’s investigation

of such serious issues involving minors was imminently proper.

       Even if the impetus to investigate Hupfer was without basis (which is disputed),

Hogan’s investigation of a hypothetically baseless allegation cannot possibly be

construed as “outrageous conduct” in any event. Such hypothetical conduct is far less

egregious than the wrongful and aggravated conduct this Court has found in other

cases does not meet the extreme standard of outrageousness. See Mondragon v.

Adams County School District No. 14, No. 1:16–cv–01745–LTB–KMT, 2017 WL 733317

at *3, *15 (D. Colo. Feb. 24, 2017) (Babcock, J.) (after outside expert determined that a

school had engaged in discriminatory practices, the school superintendent

surreptitiously accessed the expert’s computer and changed her report and repeatedly

called the expert’s estranged husband and falsely told him that the expert was having

an affair and was engaged in various underhanded behavior and would be

reprimanded. Such conduct is still not sufficiently outrageous as a matter of law) (citing

Gordon v. Boyles, 99 P.3d 75, 78, 82 (Colo. App. 2004) wherein the court held that

accusing a police officer of stabbing another officer, engaging in domestic violence, and

having an affair was not extreme and outrageous conduct)); see also Dalton v.

Countrywide Home Loans, Inc., 828 F.Supp.2d 1242, 1252 (D. Colo. 2011) (Babcock,

J.)(extreme oral abuse of mortgagor by mortgagee was not sufficiently outrageous).

Compare Hamilton v. Matrix Logistics, Inc., No. Civ.A. 05–CV–00757, 2006 WL 318662

at *2 (D. Colo. Feb. 9, 2006)(Babcock, J.)(terminating an employee based on false

allegations that he had sexually harassed a male co-worker when the real reason for his

                                            9
Case 1:21-cv-02332-LTB Document 11 Filed 10/26/21 USDC Colorado Page 10 of 11




 termination was retaliation for his assistance in his wife's pursuit of a sexual harassment

 claim against Defendants was extreme and outrageous).

        Here, even if Kaufman’s alleged allegations against Hupfer of illicit conduct with

 minors was without basis (which is disputed), Hogan’s investigation of those allegations

 cannot possibly be construed as “outrageous conduct” and is certainly less egregious

 than conduct this Court found was not actionable as a matter of law in Mondragon,

 Gordon and Dalton.

        For all of the foregoing reasons, Hupfer’s claim of “outrageous conduct” resulting

 in emotional distress must be dismissed as a matter of law.

 5.     CONCLUSION

        For all of the foregoing reasons, Defendant Hogan respectfully requests that this

 Court grant Hogan’s motion to dismiss the SECOND and THIRD claims for relief as

 against Hogan.

  Dated: October 22, 2021                      PETER SCHAFFER PC


                                               By:
                                                     Peter Schaffer

                                               400 S. Steele St., Unit 47
                                               Denver, Colorado 80209
                                               Telephone: (720) 998-8880
                                               Facsimile: (303)282-0988
                                               peterschaffer8@gmail.com

                                               Attorney for Defendant Mary Hogan




                                             10
Case 1:21-cv-02332-LTB Document 11 Filed 10/26/21 USDC Colorado Page 11 of 11




                             CERTIFICATE OF SERVICE


 The undersigned hereby certifies that on this 22nd day of October, 2021, a true and
 correct copy of DEFENDANT MARY HOGAN’S MOTION TO DISMISS PLAINTIFF’S
 COMPLAINT was filed and served using the CM/ECF system, on the following:

 Howard O. Bernstein
 1111 Pearl Street, Suite 203
 Boulder, Colorado 80302
 howard@bernsteinattorney.com
 Attorney for Plaintiff

                                               /s/Peter Schaffer
                                                 Peter Schaffer




                                          11
